898 F.2d 147Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Leonard Archie SMITH, Plaintiff-Appellant,v.W.A. BOST, Captain;  Patrick Chisolm, Officer;  LexingtonCounty Council, Defendants-Appellees.
    No. 89-6043.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Jan. 31, 1990.Decided:  March 7, 1990.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.  Matthew J. Perry, Jr., District Judge.  (C/A No. 89-559-3)
      Leonard Archie Smith, appellant pro se.
      Mary Gordon Baker, Nexsen, Pruet, Jacobs &amp; Pollard, for appellees.
      D.S.C.
      DISMISSED.
      Before DONALD RUSSELL, MURNAGHAN and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Leonard Archie Smith appeals the district court's denial of his motion to amend his complaint.  We dismiss the appeal for lack of jurisdiction.
    
    
      2
      Under 28 U.S.C. Sec. 1291 this Court has jurisdiction over appeals from final orders.  A final order is one which disposes of all issues in dispute as to all parties.  It "ends the litigation on the merits and leaves nothing for the court to do but execute the judgment."   Catlin v. United States, 324 U.S. 229, 233 (1945).
    
    
      3
      As the order appealed from is not a final order, it is not appealable under 28 U.S.C. Sec. 1291.  Nor is the order appealable under the provisions of 28 U.S.C. Sec. 1292 or as a collateral order under Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).
    
    
      4
      Finding no basis for appellate jurisdiction, we dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      5
      DISMISSED.
    
    